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 6                          UNITED STATES BANKRUPTCY COURT
 7                           EASTERN DISTRICT OF WASHINGTON
 8   In re                                                             Chapter 11
 9   EASTERDAY RANCHES, INC., et al.                                   Lead Case No. 21-00141-WLH
10
                                                                       Jointly Administered
                             Debtors1.
11

12   EASTERDAY RANCHES, INC. and                                       Adv. Pro No. 21-80050 (WLH)
     EASTERDAY FARMS,
13                                                                     ORDER INDEFINITELY
                             Plaintiffs,                               EXTENDING DEFENDANTS’
14                                                                     DEADLINE TO FILE
              v.                                                       MOTION OR ANSWER
15                                                                     COMPLAINT
     ESTATE OF GALE A. EASTERDAY
16   (DECEASED), KAREN L. EASTERDAY,
     CODY A. EASTERDAY, and DEBBY
17   EASTERDAY,
18                           Defendants.
19
              This matter came before the Court upon the Stipulated Motion to
20
     Indefinitely Extend Defendants’ Deadline to File Motion or Answer Complaint
21
     [Doc. _____]. The Court has reviewed the Motion and the record and files herein,
22
     and finds cause exists to grant the requested relief. Now, therefore, it is hereby
23
              ORDERED that the stipulation among the Parties is approved in its entirety.
24
     The scheduling conference set for November 18, 2021 is cancelled and the
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         This case is jointly administered with In re Easterday Farms, Case No. 21-00176-WLH11.
ORDER INDEFINITELY EXTENDING DEFENDANTS’ DEADLINE TO FILE
MOTION OR ANSWER COMPLAINT - 1
                                                   Tonkon Torp LLP
                                               888 SW Fifth Ave., Suite 1600
                                                    Portland, OR 97204
                                                      503.221.1440
          21-80050-WLH       Doc 8    Filed 10/19/21           Entered 10/19/21 14:45:02    Pg 1 of 2
 1   obligations set forth in the Notice of Scheduling Conference [Doc. No. 2] are
 2   abated.
 3                                  /// END OF ORDER ///
 4   Presented by:
 5
     TONKON TORP LLP
 6
     By
 7        Timothy J. Conway, WSBA 52204
          Attorneys for Karen L. Easterday
 8        individually and as personal
          representative of the estate of Gale A.
 9        Easterday
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ORDER INDEFINITELY EXTENDING DEFENDANTS’ DEADLINE TO FILE
MOTION OR ANSWER COMPLAINT - 2
                                              Tonkon Torp LLP
                                          888 SW Fifth Ave., Suite 1600
                                               Portland, OR 97204
                                                 503.221.1440
        21-80050-WLH      Doc 8   Filed 10/19/21          Entered 10/19/21 14:45:02   Pg 2 of 2
